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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
www.fisb.uscourts.gov

In re: Case No.: 19-13770-MAM

EAGLE ARTS ACADEMY, INC.

Debtor.

 

MOTION TO APPROVE STIPULATION TO COMPROMISE CONTROVERSY

/THE ENTRY OF AN ORDER IN THE FC
‘THIS MOTION. ANY SCHEDULED: HEARING MAY ‘THEN
BECANCELED. —s_™ — —

 

Michael R. Bakst, Trustee in Bankruptcy for Eagle Arts Academy, Inc., (the
“Trustee”) by and through undersigned counsel hereby files this Motion to Approve Stipulation |
to Compromise Controversy and states:

1, Attached hereto is a Stipulation to Compromise Controversy (“Stipulation”) that
has been entered into between the Trustee and Wellington School Property, Inc., a Florida
Limited Liability Company, (“Wellington”)

2. As outlined in the Stipulation, the Trustee and Wellington have reached a
settlement to settle the dispute associated with the ownership of the personal property by paying
the sum of $7,500.00 to the Trustee within fourteen (14) days of the entry of the order approving

the Motion to Compromise Controversy as full and final settlement.

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3. All payments shall be paid directly to Trustee, Michael R. Bakst, Trustee in
Bankruptcy for Eagle Arts Academy, Inc., at P.O. Box 407, West Palm Beach, Fl 33402.

4. In the event Wellington School Property LLC, a Florida Limited Liability
Company fails to comply with the terms of this agreement, or any check does not clear the proper
financial institution, the Trustee would be able to pursue any and all claims and causes of action
settled pursuant to the stipulation

5. This stipulation and motion are being noticed to all creditors pursuant to Federal
Rule of Bankruptcy Procedure 9019. The Trustee is of the opinion that this settlement is
reasonable because he has spent considerable time investigating which personal property was at
the leasehold premises and then had a prospective auctioneer review everything to give him an
opinion of value for the amount of money that could be obtained from an auction of the items.
Most of what has been located has considerable wear and tear. Further, the administrative
expenses of moving everything from the location and conducting an auction would likely not
result in the estate receiving more than $7,500.00 for the items. In addition to this analysis, the
Trustee has considered the litigation expense of suing over which items:are in fact owned by the
estate and which items are not owned by the estate. The Trustee had begun to prepare an
adversary proceeding that would seek an adjudication of ownership, among other relief, which
further crystalized in the Trustee’s mind the potential administrative expenses that could arise in
not settling this matter.

6. The legal principles to be applied in evaluating a proposed settlement have been

enunciated upon within the Southern District of Florida in In re Arrow Air, Inc., 85 B.R. 886

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(Bkrtcy.S.D.Fla. 1988). The appropriate test is "whether the compromise falls below the
lowest point in the range of reasonableness". Id. at 891, citing, Jn re Teltronics Services, Inc.,
762 F.2d 185, 189(2nd Cir. 1985); In re W.T. Grant Company, 699 F.2d 599, 608(2nd Cir.
1983). The Trustee believes that this settlement agreement complies with the legal principles
relied upon within these authorities. The Trustee believes that the settlement is in the best
interest of the estate after factoring in possible means of recovery and potential administrative
costs of continuing to litigate this action.

7. The Eleventh Circuit provides that when a bankruptcy court decides whether to
approve or disapprove a settlement, it must consider:

(i) the probability of success in the litigation;

Gi) the difficulties, if any, to be encountered in the matter of collection;

(iii) the complexity of the litigation involved, and the expense, inconvenience and
delay necessarily attending it; and

(iv) the paramount interest of the creditors and a proper deference to their reasonable
view in the premises.

In re Justice Oaks I, Ltd, 898 F.2d 1544 (11" Cir. 1990).

8. The Trustee has evaluated the settlement while considering all of the factors
required by the Eleventh Circuit and supports its approval by the Court as being in compliance
with the factors, and being within the best interest of creditors and the estate.

WHEREFORE, Michael R. Bakst, Trustee in Bankruptcy for Eagle Arts Academy,
Inc. (“Trustee”) by and through undersigned counsel, respectfully requests that the Court enter

an order in the form accompanying this motion approving stipulation to compromise controversy,

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plus grant such other and further relief as the Court deems just and proper.

I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida, and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to all parties on the attached mailing list and all creditors on the court matrix, this the 1 4cay of

January, 2020.

GREE OON MARDER LLP

lL

MICHAEL R. BAKST, ESQ.

Florida Bar No. 866377

Attorney for Trustee

CityPlace Tower

525 Okeechobee Blvd., Suite 900

West Palm Beach, FL 33401

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¢ Office of the US Trustee = USTPRegion21.MM.ECF@usdoj.gov

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mkassower@fwblaw.net;twolosh@fwblaw.net

Manual Notice List

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255 Alhambra Cir Ste 800
Coral Gables, FL 33134-7412
Office: 305-570-3249

Cell: 305-772-6026

mdj@mdjlegal.com

All creditors on the creditor’s matrix attached herein

emb 29511.0514

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Label Matrix for local noticing
113¢c-9

Case 19-13770-MAM

Southern District of Florida
West Palm Beach

Mon Jan 27 08:39:35 EST 2020

The School Board of Palm Beach County, Flori
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Boca Raton, FL 33431-7382

Access Receivables Management
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Cockeysville, MD 21030-6377

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PO Box 6939
Cleveland, OH 44101-1939

Apple Financial
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Souderton, PA 18964-0458

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Wellington, FL 33414-5923

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West Palm Beach, FL 33401-8401

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12140 56th pn
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Berrie, Donna
20563 §. Charleston
Boca Raton, FL 33434-5904

Booster Enterprises
10400 Old Alabama Rd Connector #400
Alpharetta, GA 30022-8270

(p)CAINE & WEINER COMPANY
12005 FORD ROAD 300
DALLAS TX 75234-7262

Charter PB Wellington 2, LLC

c/o Frank, Weinberg & Black, P.L.
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Age of Learning for Schools, Inc.
101 N. Brand Blvd 8th Floor
Glendale, CA 91203-2639

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Technology Insurance Company, Inc.

c/o Maurice Wutscher LLP

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Miami, FL 33188-0001

Florida Department of Health
4052 Bald Cypress Way Bid-Bol
Tallahassee, FL 32399-1729

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Ryerson, Anita
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Soneet Kapila
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Page 10 of 20

The Village of Wellington
12300 Forest Hill Blvd.
Wellington, FL 33414~7699

Toshibia Financial Services
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St Louis, MO 63179-0448

UnitedHealthcare Insurance Company
CDM-ATIN: Bankruptcy

185 Asylum Street

038

Hartford, CT 06103-3408

Villegas Santos, Ivonne
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Wellington Utilities
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Windstream Holdings LLC
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Michael R Bakst
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West Palm Beach, FL 33402-0407

William J Berger

Weiss, Handler & Cornwell, P.A.
2255 Glades Rd #218

Boca Raton, FL 33431-7391
 

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The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£} and Fed.R.Bank.P. 2002 (g) (4}.

Caine & Weiner
PO Box 55848
Sherman Oaks, CA 91413

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)West Palm Beach (d) Heather Ferrin End of Label Matrix
5509 Descartes Cir, Mailable recipients 149
Boynton Beach, FL 33472-2410 Bypassed recipients 2

Total 151
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
www. fisb.uscourts.gov

In re: Case No.: 19-13770-MAM
EAGLE ARTS ACADEMY, INC.

Debtor.

 

STIPULATION TO COMPROMISE CONTROVERSY

MICHAEL R. BAKST, Trustee in Bankruptcy for Eagle Arts Academy, Inc., (the
“Trustee”) and Wellington School Property LLC, a Florida Limited Liability Company,
(“Wellington”), by and through undersigned counsel, hereby stipulate and agree as follows:

This Settlement Agreement is entered into on the date set forth below between the Trustee,
MICHAEL R. BAKST, Trustee in Bankruptcy for Eagle Arts Academy, Inc. (the Trustee and
Wellington shall hereinafter collectively be referred to as the “Parties”). .

WHEREAS, in order to settle payment for specific disclosed assets above exemptions and
causes of action specified below between the parties, the parties have entered into this Stipulation.

RECITALS

1. This voluntary Chapter 7 proceeding was filed on March 25, 2019. Michael R. Bakst

has been appointed as the Chapter 7 Trustee.

2. The Debtors Meeting of Creditors was held and concluded on May 10, 2019 (ECF#
42)

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3. On November 1, 2018 Charter PB Wellington 2, LLC (“Charter PB”), as seller, andon
October 31,2018, School Development HC, LLC (“School Development”), as purchaser executed a
contract for sale of real property located at 1000 Wellington Trace, Wellington, Florida 33414.

CReal cat Propet)

4. Subsequently, School Development assigned the purchase contract (Bill of Sale and
Assignment) to Wellington School Property LLC, a Florida limited liability company
(“Wellington”), which closed on the purchase as assignee of School Development on April 17, 2019.

5S. On April 17, 2019 a Bill of Sale and Assignment was entered into between
Charter PB and Wellington.

6. The Trustee has sought turnover of certain personal property that he claims is
owned by the estate which is located at the Real Property. Wellington denies that any personal
property at the location is owned by the estate, but instead is owned by Wellington based upon
their purchase of the Real Property. This stipulation is being entered into to resolve such dispute,

NOW, THEREFORE, in light of the foregoing, and in consideration of the mutual promises
and covenants of the Parties contained herein, as well as other good and valuable consideration, the

receipt and sufficiency of which is hereby acknowledged, the parties agree as follows:

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* yopealy Una ae Ly oy ethan Wang” Te
9. A the Parties agree to settle any dispute associated With ownership of the veo >
property as follows:
(a). The Trustee and Wellington have agreed to settle this matter for the sum of
$7,500.00 to be paid by Wellington to the Trustee within fourteen (14) days of the entry of the order

approving the Motion to Compromise Controversy as full and final settlement. Any check shall be

made payable to Michael R. Bakst, Trustee in Bankruptcy for Eagle Arts Academy, Inc., and shall be
4235633 1v1

aL
 

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delivered to the Trustee at P.O. Box 407, West Palm Beach, F! 33402.

(b). In the event Wellington fails to comply with the terms of this agreement, or
any check does not clear the proper financial institution, the Trustee would be able to pursue any-and
all claims and causes of action settled pursuant to the sisasof

10. The Parties are aware that this settlement must be noticed to all creditors and must be
approved by the Bankruptcy Court. In the event that it is not approved, this agreement shall be
deemed null and void. Upon the Court approving this settlement, the Court shall enter an order
approving the settlement. The Court shall be entitled to reserve jurisdiction to enforce the terms and
covenants contained within this stipulation.

NO OTHER AGREEMENTS; MODIFICATION

11, This agreement contains the entire understanding and agreement of the Parties, and
there are no prior or contemporaneous promises, representations, agreements, warranties, or
undertakings by either party to the other, either oral or written of any character or nature, except as
set forth in this agreement. This agreement may be altered, amended, or modified only by an
instrument in writing, executed and acknowledged by the parties to this agreement, with the same
formality as this agreement, and by no other means. Each party waives any right to claim that this
agreement was modified, canceled, superseded, or changed by an oral agreement, course of conduct,
or estoppel.

APPLICABLE LAW

12. All matters affecting the execution, interpretation, validity, and enforceability of this
agreement shall be subject to, and interpreted under, Federal Bankruptcy Law, as well as the laws of
the State of Florida to whatever extent Bankruptcy Law relies upon state law.

NO PRESUMPTIONS ARISING FROM DRAFTING

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13. The fact that any draft of this agreement was prepared by counsel for one of the
Parties shall create no presumptions, and, specifically, shall not cause any ambiguities to be
construed against that party. The Parties acknowledge that each has contributed toward the drafting
of this agreement, and that this agreement is the result of negotiations between the Parties.

| WAIVERS

14. The failure of either party at any time to require the performance of the other of any
of the terms, provisions, or conditions hereof shall inno way affect the right thereafter to enforce the
same, nor shall the waiver by either party of the breach of any of the terms, provisions, and
conditions hereof, be construed or be deemed a waiver of any succeeding breach of any termi,
provision, or condition hereof.

ADDITIONAL ACKNOWLEDGMENTS AND UNDERSTANDINGS

15. The Parties acknowledge that each fully understands all of the terms and obligations
of this agreement, and each believes the same to be fair, just, equitable, reasonable, fully acceptable,
and not unconscionable.

16. The Parties enter into this agreement freely and voluntarily. Neither party has been
the subject of any duress, undue influence, fraud, or coercion in entering into this agreement.

17. The Parties to this agreement acknowledge that they have had the benefit and
assistance of the representation of their own separate and independent attorneys to advise them of
their rights and obligations under this agreement, and they are also aware of what their rights would
be in the absence of this agreement.

18. This agreement shall be binding upon the parties hereto and shall also be binding
upon and enure to the benefit of the heirs and successors of the respective parties.

19, This settlement agreement may be executed in two or more counterparts, including

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emailed or facsimile counterparts, none of which need contain signatures of all of the Parties hereto,
each of which will constitute an original, and all of which, taken together, shall constitute one and
the same agreement. |

20. The date of this agreement is the date on which the last of the parties executes a copy
of the agreement.

CAPTIONS

21. The captions of the various paragraphs in this agreement are for convenience only,
and none of them is intended to be any part of the text of this agreement, or intended to be referred to
in construing any provision of it.

INCORPORATION OF RECITALS

22. The recitals to this agreement are incorporated into this agreement and accepted and
agreed to by all parties as though fully set forth in the body of this agreement. The fact that a
particular provision of the body of this agreement is not mentioned in the recitals shall not affect the
validity or enforceability of such provision. The facts stated in the recitals shall conclusively be
presumed to be true for all purposes between the Parties and any other party bound by this
agreement.

NOTICES

23. Any notices required by this agreement must be given either in writing by U.S. Mail,
certified/return receipt requested, express mail service, or facsimile to the parties as follows:

To the Trustee: c/o

Michael R. Bakst, Esq.

325 Okeechobee Bivd., Suite 900

West Palm Beach, F] 33401

(561) 838-4523
E-mail: michael.bakst@gmlaw.com

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To Wellington School Property LLC c/o
Marcos D. Jimenez, Esq.

Marcos D. Jimenez, P.A.

255 Alhambra Cir Ste 800

Coral Gables, FL 33134-7412

Office: 305-570-3249

‘Cell: 305-772-6026

mdj@mdjlegal.com

24. The parties agree to the Bankruptcy Court retaining jurisdiction over them and over
the cause for the purpose of enforcing, approving, and ratifying this agreement,

25. Facsimile signatures or emailed signatures in pdf format shall be acceptable for filing
with the Court and for purposes of enforcing, approving and ratifying this agreement.

IN WITNESS WHEREOF, the parties hereto have set their hands to this settlement

agreement on the date specified below.

   

MARCOS D. JIMENEZ, P.A. GREENSP@ON MARDER LLP

     

VY ff
Marcos D. Jimexe?Z, Esq.

 

 

Michdel R. Bakst, Esq.

   

 

 

 

255 Alhambra (if Ste 800 525 Okeechobee Bivd., Suite 900

Coral Gables, 7 33134-7412 West Palm Beach, FI 33401

Office: 305-578-3249 Phone: (561) 838-4523

Cell: 305-772-6026 Fax: (561) 514-3423

mdj@mdjlegah.com na? mlaw fom

Dated: \ co te } 20 Dated: [ ) K Zo 2
(ay! ,

ANNETTE MAIRAOLA

REGISTERED AGENT FOR WELLINGTON SCHOOL
PROPERTY LLC, a Florida Limited Liability Company

Dated: i| 14120

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PROP Ose

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION
www.fisb.uscourts.gov

In re: Case No.: 19-13770-MAM
EAGLE ARTS ACADEMY, INC.

Debtor.

 

ORDER APPROVING STIPULATION TO COMPROMISE CONTROVERSY

THIS MATTER came before the Court in West Palm Beach, Florida, upon the Trustee’s
Motion to Approve Stipulation to Compromise Controversy, [“Motion”] (ECF# ) and the
movant by submitting this form of order having represented that the Motion was served on all
parties required by Bankruptcy Rule 2002 or Local Rule 2002-1(H), (1) or (J), that the 21 day
response time provided by Local Rule 9013-1(D) has expired, that no one has filed, or served on
the movant, a response to the Motion, that the form of order was attached as an exhibit to the
Motion, that this settlement has been duly noticed to all creditor and is in the best interest of

creditors and the estate, and the Court being otherwise fully advised in the premises it is,
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ORDERED AND ADJUDGED as follows:

1. The Motion to Approve Stipulation to Compromise Controversy is GRANTED.

2. The Stipulation to Compromise Controversy is APPROVED in its entirety, and
its terms are hereby incorporated by reference into this Order in their entirety.

3. The Court hereby approves the Stipulation reached between the Trustee and
Wellington School Property, Inc., a Florida Limited Liability Company.

4. Pursuant to the Stipulation to Compromise Controversy, Wellington School
Property, Inc., a Florida Limited Liability Company, shall pay to the Trustee, the sum of
$7,500.00 within fourteen (14) days of the entry of this order approving the Motion to
Compromise Controversy as full and final settlement.

5. All payments shall be paid directly to Trustee, Michael R. Bakst, Trustee in
Bankruptcy for Eagle Arts Academy, Inc., at P.O. Box 407, West Palm Beach, Fl 33402.

6. In the event Wellington School Property LLC, a Florida Limited Liability
Company fails to comply with the terms of this agreement, or any check does not clear the
proper financial institution, the Trustee would be able to pursue any and all claims and causes of
action settled pursuant to the stipulation

7. The Court reserves jurisdiction to enforce the terms of this order and stipulation.

Hitt

Submitted by:

Michael R. Bakst, Esq.

525 Okeechobee Blvd., Suite 900
West Palm Beach FL 33401
Telephone: (561) 838-4523
Facsimile: (561) 514-3423
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Electronic Mail Notice List

Michael R Bakst — efilemrb@gmlaw.com,

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Ned R Nashban NNashban@baritzcolman.com, service@baritzcolman.com

Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

David Neal Stern dnstern@fwblaw.net, mkassower@fwblaw.net;twolosh@fwblaw.net

[Michael R. Bakst, Esq. is directed to serve copies of this order on the parties listed and
file a certificate of service]

William J Berger

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2255 Glades Rd #218

Boca Raton, FL 33431

Soneet Kapila
1000 S Federal Hwy #200
Fort Lauderdale, FL 33316

Marcos D. Jimenez, Esq.

255 Alhambra Cir Ste 800
Coral Gables, FL 33134-7412
Office: 305-570-3249

Cell: 305-772-6026

mdj@mdjlegal.com

All creditors on the creditor’s matrix
